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     MICHAEL J. SHEPARD (SBN 91281)
 1    mshepard@kslaw.com
 2   KING & SPALDING LLP
     50 California Street, Suite 3300
 3   San Francisco, CA 94111
     Telephone:     +1 415 318 1200
 4   Facsimile:     +1 415 318 1300
 5
     Attorneys for Defendant
 6   JOHNNY EARL HENDERSON

 7
                               UNITED STATES DISTRICT COURT
 8
                              NORTHERN DISTRICT OF CALIFORNIA
 9

10                                SAN FRANCISCO DIVISION

11   UNITED STATES OF AMERICA,                   Case No.: 3:19-CR-00116-WHO
12               Plaintiff,
13                                               DEFENDANT JOHNNY HENDERSON’S
           v.                                    SENTENCING MEMORANDUM
14
     JOHNNY EARL HENDERSON,
                                                 Date:       December 8, 2022
15                                               Time:       1:30 P.M.
                 Defendant.
                                                 Judge:      Hon. William Orrick
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     DEFENDANT’S SENTENCING MEMORANDUM                        CASE NO.: 3:19-CR-00116-WHO
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 1          Defendant Johnny Henderson submits this brief memorandum to ask that he be given a

 2   non-custodial sentence, potentially subject to the conditions in the sentencing memorandum

 3   submitted by Pretrial Services on November 21, 2022. He makes this request because, even

 4   though he committed serious offenses, “[he] is living the life that this Court, through all of its

 5   programs . . . attempt[s] to create.” United States v. Munoz-Nava, 524 F.3d 1137, 1143 (10th

 6   Cir. 2008) (affirming significant downward variance based primarily on defendant’s behavior on

 7   pretrial release showing he was unlikely to reoffend).

 8          After suffering from addiction issues as a younger man, Mr. Henderson was sober, in

 9   recovery, and employed at auto service companies (Toscalito Tire and Sears Auto) from 2000 to

10   2018. Unfortunately, during the time of the offenses in this case, and for a period of time after

11   he was charged, his sobriety lapsed. With the assistance and patience of Pretrial Services

12   (primarily Officer Timothy Elder, and, more recently, Officer Sheri Broussard) and Magistrate

13   Judge Beeler, Mr. Henderson entered residential treatment at Center Point in San Rafael about

14   two and a half years ago. Since then, he has turned his life around. He promptly stopped using

15   drugs. He accepted responsibility for his offense, pled guilty, and was admitted into the CAP

16   program on December 2, 2021.

17          As Pretrial Services notes, Mr. Henderson has been present and participated in all CAP

18   meetings and has been compliant throughout CAP and beyond, something that very few

19   participants are able to do. He has also been an active participant in Center Point’s Intensive

20   Outpatient Program (IOP); Courage to Change; at least two self-help group meetings; and bi-

21   weekly individual counseling and therapy.

22          With this support and assistance, Mr. Henderson has returned to being a constructive

23   member of his community. Over a year ago, he obtained part time contract employment with

24   Legacy Biomedical. During his time in CAP, Mr. Henderson was recognized by Pretrial

25   Services as a leader, and provided guidance to several of his peers. He offered fellowship to

26   those struggling with addiction, and supported them while maintaining boundaries. In addition,

27   he began volunteer work in Richmond, California with at-risk youth who need a mentor.

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     DEFENDANT’S SENTENCING MEMORANDUM                                    CASE NO.: 3:19-CR-00116-WHO
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 1   Throughout this period, he has been and remains reflective of the mistakes he made, and

 2   committed to avoid repeating them in the future.

 3          This Court needs no reminder that it “shall impose a sentence sufficient, but not greater

 4   than necessary, to comply with the purposes set forth in 18 U.S.C. § 3553(a)(2),” see 18 U.S.C. §

 5   3553(a), and that it retains the discretion to vary downwards from the guideline range when

 6   applying the factors set forth in section 3553(a). See Gall v. United States, 522 U.S. 38, 51

 7   (2007). Mr. Henderson respectfully submits that the statutory purposes of sentencing are

 8   satisfied here with a non-custodial sentence. On the facts of this case, a non-custodial sentence

 9   can be fashioned in a way that reflects the seriousness of the offense and provides just

10   punishment, see, e.g., United States v. Nesbeth, 188 F. Supp. 3d 179, 180, 195–96 (E.D.N.Y.

11   2016) (imposing a sentence of one year probation with six months’ home confinement and 100

12   hours of community service as against an advisory guideline range of 33–41 months); United

13   States v. Prosperi, 686 F.3d 32, 34, 47–50 (1st Cir. 2012) (affirming a sentence of three years’

14   probation, six months’ home confinement, and 1,000 community service hours as reflective of

15   the seriousness of the offense and sufficient to satisfy the district judge’s obligation to consider

16   general deterrence as against an advisory guideline range of 87–108 months’ imprisonment), and

17   can be appropriate even when the defendant has a prior record, see, e.g., United States v. Baker,

18   502 F.3d 465, 467–68 (6th Cir. 2007) (although defendant had four prior convictions, affirming

19   downward variance from a guideline range of 27–33 months to a non-custodial sentence of five

20   years’ probation with one year of home confinement, in light of, among other things, defendant’s

21   stated remorse for his actions and the fact that the defendant had done “exceedingly well while

22   … on supervision”).

23          Having accepted responsibility for his offense, Mr. Henderson is grateful for the

24   opportunity and assistance the court has given him, which allowed him to return to sobriety, turn

25   his life around, and resume his position as a constructive member of his community. He asks

26   that he be allowed to remain out of custody and to continue on this positive path.

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     DEFENDANT’S SENTENCING MEMORANDUM                                    CASE NO.: 3:19-CR-00116-WHO
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 1   DATED: December 1, 2022             KING & SPALDING LLP
 2
                                         By: /s/ Michael J. Shepard
 3                                           Michael J. Shepard
 4                                           Attorneys for Defendant
                                             JOHNNY EARL HENDERSON
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